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                                     CIVIL MINUTE ENTRY



     BEFORE:                 Magistrate Judge Steven L. Tiscione

                            January 16, 2025
     DATE:

                            2:30 P.M.
     TIME:

     DOCKET                 CV-23-7904 (NJC)
     NUMBER(S):
     NAME OF                Lock et al v. Costco Wholesale Corporation
     CASE(S):

     FOR                    Kaske, Forrester
     PLAINTIFF(S):
     FOR                    Winnick, Whitman
     DEFENDANT(S):

     NEXT           Settlement Conference - April 1, 2025 at 11:00 a.m.
     CONFERENCE(S):

     FTR/COURT     Not Recorded
     REPORTER:
     RULINGS FROM Initial Conference                        :
     The Court sets the following discovery deadlines:

     Deadline for completion of Rule 26(a) initial disclosures - 1/30/25;

     Completion of Phase I discovery - 3/17/25;

     First requests for production of documents and interrogatories due by - 4/16/25;

     All class certification discovery to be completed by 7/25/25;

     Deadline for Plaintiffs to File Motion for Class Certification - 8/22/25.

     An in-person settlement conference will be held on April 1, 2025 at 11:00 a.m. in
     Courtroom 910 of the Central Islip Courthouse. Parties are to submit their respective
     settlement positions via ex parte electronic filing no later than March 29, 2025. A motion
     to file ex parte is not required. Counsel are to refer to the Settlement Section of this Court's
     Individual Rules in preparation for the conference.
